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 W DMI Corporate Disclosure Statement pursuant to Fed. R. Civ. P. 7.1 or Fed. R. Crim. P. 12.4 (4/06)




                                             UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF MICHIGAN

Right to Life of Michigan, et al,

                       Plaintiff(s),                                             Case No.          1:23-cv-1189

 v.

Gretchen Whitmer, et al.,
             Defendant(s).
 __________________________________/


             DISCLOSURE OF CORPORATE AFFILIATIONS AND FINANCIAL INTEREST

                                                                                       Christian Medical and Dental Ass'ns
 Pursuant to Federal Rule of Civil Procedure 7.1,                                   _________________________________
                                                                                                         (Party Name)
 makes the following disclosure:

            1. Is party a publicly held corporation or other publicly held entity?                                       Yes   ✔ No

            2. Does party have any parent corporations?          Yes ✔ No
               If yes, identify all parent corporations, including grandparent and great-grandparent
               corporations:




            3. Is 10% or more of the stock of party owned by a publicly held corporation or other
               publicly held entity?      Yes ✔ No
               If yes, identify all such owners:




            4. Is there any other publicly held corporation or other publicly held entity that has a direct
               financial interest in the outcome of the litigation?    Yes ✔ No
               If yes, identify entity and nature of interest:




                    November 8, 2023                                                               /s/ Robert J. Muise
 Date: __________________________                                                ___________________________________
                                                                                                           (Signature)
                                                                                 Robert J. Muise, Esq.
                                                                                 American Freedom Law Center
                                                                                 PO Box 131098
                                                                                 Ann Arbor, MI 48113
                                                                                 (734) 635-3756
